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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION


 UNITED STATES OF AMERICA,                            CR 21–07–BLG–DLC

              Plaintiff,

       vs.                                                    ORDER

 WESLEY DEAN MERRILL,

              Defendant.


      United States Magistrate Judge Timothy J. Cavan entered Findings and

Recommendations in this matter on May 6, 2021. (Doc. 41.) Neither party

objects, and so the Court will review for clear error. United States v. Reyna-Tapia,

328 F.3d 1114, 1121 (9th Cir. 2003); Thomas v. Arn, 474 U.S. 140, 149 (1985).

Clear error exists if the Court is left with a “definite and firm conviction that a

mistake has been committed.” United States v. Syrax, 235 F.3d 422, 427 (9th Cir.

2000) (citations omitted).

      Judge Cavan recommended this Court accept Wesley Dean Merrill’s guilty

plea after Merrill appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of possession with intent to

distribute controlled substances in violation of 21 U.S.C. § 841(a)(1) as charged in

the Superseding Information.


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      The Court finds no clear error in Judge Cavan’s Findings and

Recommendation and adopts them in full. The Court will defer acceptance of the

Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report. Accordingly,

      IT IS ORDERED that the Findings and Recommendations (Doc. 41) is

ADOPTED in full. Merrill’s motion to change plea (Doc. 31) is GRANTED and

he is adjudged guilty as charged in Count I of the Superseding Information.

      DATED this 25th day of May, 2021.




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